















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS








WR-57,004-03






EX PARTE DUANE EDWARD BUCK








ON APPLICATION FOR WRIT OF HABEAS CORPUS 


CAUSE NO. 699684 IN THE 208TH DISTRICT COURT

HARRIS COUNTY






	Per curiam.  ALCALA, J., filed a dissenting statement in which PRICE and
JOHNSON, JJ., joined.  


O R D E R



	This is a subsequent application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure Article 11.071, § 5.

	In May 1997, Applicant was convicted of the offense of capital murder.  The jury
answered the special issues submitted under Article 37.071, TEX. CODE CRIM. PROC.,
and the trial court, accordingly, set punishment at death.  This Court affirmed Applicant's
conviction and sentence on direct appeal.  Buck v. State, No. AP-72,810 (Tex. Crim. App.
April 28, 1999).  This Court denied relief on Applicant's initial post-conviction
application for writ of habeas corpus.  Ex parte Buck, No. WR-57,004-01 (Tex. Crim.
App. October 15, 2003).  This Court dismissed Applicant's second post-conviction
application for writ of habeas corpus.  Ex parte Buck, No. WR-57,004-02 (Tex. Crim.
App. October 15, 2003).  Applicant's instant post-conviction application for writ of
habeas corpus was received in this Court on March 28, 2013.

	Applicant presents three allegations in the instant application.  We have reviewed
the application and find that Applicant has failed to satisfy the requirements of Article
11.071, § 5(a).  Accordingly, we dismiss the application as an abuse of the writ without
considering the merits of the claims.     

	IT IS SO ORDERED THIS THE 20TH DAY OF NOVEMBER,  2013.

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